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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


  SHANE MERRIAM, Individually and                Case No.
  on Behalf of All Others Similarly
  Situated,
                                                 CLASS ACTION COMPLAINT
                             Plaintiff,

                      v.                         JURY TRIAL DEMANDED

  AVIS BUDGET GROUP, INC.,
  JOSEPH A. FERRARO, and IZILDA P.
  MARTINS,

                             Defendants.


       Plaintiff Shane Merriam (“Plaintiff”), individually and on behalf of all others

 similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint

 against Defendants, alleges the following based upon personal knowledge as to

 Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters,

 based upon, inter alia, the investigation conducted by and through Plaintiff’s

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 attorneys, which included, among other things, a review of the Defendants’ public

 documents, conference calls and announcements made by Defendants, United States

 (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press

 releases published by and regarding Avis Budget Group, Inc. (“Avis Budget” or the

 “Company”), analysts’ reports and advisories about the Company, and information

 readily obtainable on the Internet. Plaintiff believes that substantial, additional

 evidentiary support will exist for the allegations set forth herein after a reasonable

 opportunity for discovery.

                              NATURE OF THE ACTION

        1.    This is a federal securities class action on behalf of a class consisting

 of all persons and entities other than Defendants that purchased or otherwise

 acquired Avis Budget securities between February 16, 2024 and February 10, 2025,

 both dates inclusive (the “Class Period”), seeking to recover damages caused by

 Defendants’ violations of the federal securities laws and to pursue remedies under

 Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”)

 and Rule 10b-5 promulgated thereunder, against the Company and certain of its top

 officials.

        2.    Avis Budget, together with its subsidiaries, provides car and truck

 rentals, car sharing, and ancillary products and services to businesses and consumers

 in the Americas, Europe, the Middle East and Africa, Asia, and Australasia. Among


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 other services, the Company operates the Avis brand, which offers vehicle rental and

 other mobility solutions to commercial and leisure segments of the travel industry;

 the Zipcar brand, a car sharing network; and the Budget brand, a supplier of vehicle

 rental and other mobility solutions focused primarily on more value-conscious

 customers. According to the Company, its global rental fleet totaled approximately

 695,000 vehicles in 2024.

       3.     With hundreds of thousands of vehicles in its rental fleet, effective fleet

 management is critical to Avis Budget’s profitability. This includes, among other

 things, ensuring proper fleet rotation—i.e., the replacement of older vehicles in a

 rental fleet with newer models. To execute this process effectively, a company must

 rotate its vehicles at an appropriate pace. If rotation is too gradual, older models

 may begin depreciating in value even as their maintenance costs steadily increase.

 Conversely, if rotation is too accelerated, a company risks prematurely removing

 vehicles before they have reached the end of their “useful lives”—the period during

 which the vehicles have recoverable value.

       4.     In discussing the significance of fleet rotation to its business and

 profitability, Avis Budget has stated that “[h]ow you buy cars and deliver them into

 your business and then exit cars out at the proper time at the right place is extremely

 critical” and, when analyzing buying and selling fleet vehicles, “one of the more

 important and overlooked aspects is how you rotate your fleet” given that “it allows


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 you to have or maintain a certain age level or mileage level that is both operationally

 prudent from an efficiency standpoint as it turns out to be in light vehicle costs as

 well as from a customer acceptance. And we’ve been doing that.”1

         5.     In the years following the Covid-19 pandemic, due to a shortage of fleet

 supply, automobile rental companies were required to purchase fleet vehicles at

 higher prices than historic norms.        To address this challenge, Avis Budget

 decelerated its fleet rotation by maintaining vehicles within its rental fleet for a

 longer period of time. As the Company stated in an earnings call held with investors

 and analysts to discuss its Q4 2024 results (the “Q4 2024 Earnings Call”), this

 practice purportedly “allowed [the Company] to depreciate vehicles across a flatter

 portion of the residual value curve and manage [its] fleet purchase to an appropriate

 return on invested capital.”

         6.     However, in the fourth quarter of 2024, prices for vehicles model year

 2025 began returning to normalized levels. In response, unbeknownst to investors,

 Avis Budget implemented a “change in strategy to significantly accelerate fleet

 rotations,” purportedly designed to “create more certainty in [Avis Budget’s] fleet

 costs and better position [the Company] for sustainable growth for 2025 and

 beyond.”




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     All emphases included herein are added unless otherwise indicated.

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       7.     Throughout the Class Period, Defendants made materially false and

 misleading statements regarding the Company’s business, operations, and prospects.

 Specifically, Defendants made false and/or misleading statements and/or failed to

 disclose that: (i) Avis Budget crafted and implemented a plan to significantly

 accelerate its fleet rotation in the fourth quarter of 2024; (ii) the foregoing

 acceleration shortened the useful life of the majority of the Company’s vehicles in

 the Americas segment, thereby reducing their recoverable value; (iii) as a result,

 Avis Budget would be forced to recognize billions of dollars in impairment charges

 and incur substantial losses; (iv) all the foregoing was likely to, and did, have a

 significant negative impact on the Company’s financial results; (v) accordingly,

 Avis Budget’s financial and/or business prospects were overstated; and (vi) as a

 result, Defendants’ public statements were materially false and misleading at all

 relevant times.

       8.     On February 11, 2025, Avis Budget issued a press release reporting its

 financial results for the fourth quarter and full year 2024. Among other items, Avis

 Budget reported a loss of $1.96 billion, or $55.66 per share, for the quarter, compared

 to a profit of $259 million, or $7.10 per share, for the same period in the prior year.

 Avis Budget attributed these results to “a change in strategy to significantly

 accelerate fleet rotations, which resulted in shortening the useful life of the majority




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 of our vehicles in the Americas segment[,]” causing “a one-time non-cash

 impairment of $2.3 billion and other non-cash related charges of $180 million.”

       9.     The press release also announced that the Company’s Chief Executive

 Officer (“CEO”), Defendant Joseph A. Ferraro (“Ferraro”), “will transition from

 CEO to Board Advisor, effective June 30, 2025” and that “Brian Choi, the

 Company’s Chief Transformation Officer, will take over as CEO, effective July 1,

 2025.”

       10.    On this news, Avis Budget’s stock price fell $6.12 per share, or 6.82%,

 to close at $83.59 per share on February 11, 2025.

       11.    Then, on February 12, 2025, Avis Budget hosted the Q4 2024 Earnings

 Call. During the Q&A portion of the Q4 2024 Earnings Call, Defendant Ferraro

 indicated that the Company was aware that accelerating fleet rotation would likely

 result in a significant impairment charge. Specifically, when asked to discuss the

 competitive landscape of the automobile rental industry in the wake of the

 normalizing price levels of vehicles model year 2025, Defendant Ferraro responded,

 in relevant part, “I can only comment on what we’re trying to do as far as our fleet

 rotation. None of us took that impairment slightly, and we thought long and hard

 about it.”




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       12.    As a result of Defendants’ wrongful acts and omissions, and the

 precipitous decline in the market value of the Company’s securities, Plaintiff and

 other Class members have suffered significant losses and damages.

                           JURISDICTION AND VENUE

       13.    The claims asserted herein arise under and pursuant to Sections 10(b)

 and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

       14.    This Court has jurisdiction over the subject matter of this action

 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act.

       15.    Venue is proper in this Judicial District pursuant to Section 27 of the

 Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Avis Budget is

 headquartered in this District, Defendants conduct business in this District, and a

 significant portion of Defendants’ actions took place within this District.

       16.    In connection with the acts alleged in this complaint, Defendants,

 directly or indirectly, used the means and instrumentalities of interstate commerce,

 including, but not limited to, the mails, interstate telephone communications, and the

 facilities of the national securities markets.




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                                      PARTIES

       17.    Plaintiff, as set forth in the attached Certification, acquired Avis Budget

 securities at artificially inflated prices during the Class Period and was damaged

 upon the revelation of the alleged corrective disclosures.

       18.    Defendant is a Delaware corporation with principal executive offices

 located at 379 Interpace Parkway, Parsippany, New Jersey 07054. Avis Budget’s

 common stock trades in an efficient market on the Nasdaq Global Select Market

 (“NASDAQ”) under the ticker symbol “CAR.”

       19.    Defendant Ferraro has served as Avis Budget’s President and CEO at

 all relevant times.

       20.    Defendant Izilda P. Martins (“Martins”) has served as Avis Budget’s

 Executive Vice President and Chief Financial Officer at all relevant times.

       21.    Defendants Ferraro and Martins are collectively referred to herein as

 the “Individual Defendants.”

       22.    The Individual Defendants possessed the power and authority to control

 the contents of Avis Budget’s SEC filings, press releases, and other market

 communications. The Individual Defendants were provided with copies of Avis

 Budget’s SEC filings and press releases alleged herein to be misleading prior to or

 shortly after their issuance and had the ability and opportunity to prevent their

 issuance or to cause them to be corrected. Because of their positions with Avis


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 Budget, and their access to material information available to them but not to the

 public, the Individual Defendants knew that the adverse facts specified herein had

 not been disclosed to and were being concealed from the public, and that the positive

 representations being made were then materially false and misleading.            The

 Individual Defendants are liable for the false statements and omissions pleaded

 herein.

       23.    Avis Budget and the Individual Defendants are collectively referred to

 herein as “Defendants”.

                        SUBSTANTIVE ALLEGATIONS

                                    Background

       24.    Avis Budget, together with its subsidiaries, provides car and truck

 rentals, car sharing, and ancillary products and services to businesses and consumers

 in the Americas, Europe, the Middle East and Africa, Asia, and Australasia. Among

 other services, the Company operates the Avis brand, which offers vehicle rental and

 other mobility solutions to commercial and leisure segments of the travel industry;

 the Zipcar brand, a car sharing network; and the Budget brand, a supplier of vehicle

 rental and other mobility solutions focused primarily on more value-conscious

 customers. According to the Company, its global rental fleet totaled approximately

 695,000 vehicles in 2024.




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        25.    With hundreds of thousands of vehicles in its rental fleet, effective fleet

  management is critical to Avis Budget’s profitability. This includes, among other

  things, ensuring proper fleet rotation—i.e., the replacement of older vehicles in a

  rental fleet with newer models. To execute this process effectively, a company must

  rotate its vehicles at an appropriate pace. If rotation is too gradual, older models

  may begin depreciating in value even as their maintenance costs steadily increase.

  Conversely, if rotation is too accelerated, a company risks prematurely removing

  vehicles before they have reached the end of their “useful lives”—the period during

  which the vehicles have recoverable value.

   Materially False and Misleading Statements Issued During the Class Period

        26.    The Class Period begins on February 16, 2024, when Avis Budget filed

  an Annual Report on Form 10-K with the SEC during pre-market hours, reporting

  the Company’s financial and operating results for the quarter and year ended

  December 31, 2023 (the “2023 10-K”). In providing an overview of the Company’s

  strategy, the 2023 10-K stated, in relevant part:

        For 2024, we expect our strategy to continue to primarily focus on
        customer experience and costs to strengthen our Company, maximize
        profitability, and deliver stakeholder value. To execute our strategy,
        we expect to continue to leverage marketing and invest in technology
        and infrastructure to support our vehicle related rentals. With respect to
        costs, we aim to achieve operational excellence and invest
        strategically to lower costs over the long term.




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        27.    Further, the 2023 10-K purported to warn that “[e]arnings for future

  periods may be impacted by impairment charges for goodwill and intangible

  assets[,]” while downplaying the risk of the same, stating, in relevant part:

        We assess goodwill and indefinite-lived intangible assets for
        impairment each year, or more frequently if circumstances suggest an
        impairment may have occurred. We have determined in the past and
        may again determine in the future that a significant impairment has
        occurred in the value of our goodwill. Additionally, we have a
        significant amount of identifiable intangible assets and fixed assets that
        could also be subject to impairment. If we determine that a significant
        impairment has occurred in the value of our unamortized intangible
        assets or fixed assets, we could be required to write off a portion of our
        assets, which could adversely affect our consolidated financial
        condition or our reported results of operations.

  Plainly, the foregoing risk warnings were generic, catch-all provisions that were not

  tailored to Defendants’ actual known risks regarding the likelihood of Avis Budget

  recognizing a significant impairment charge in the near future.

        28.    Appended to the 2023 10-K as an exhibit was a signed certification

  pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual Defendants,

  attesting that “[t]he information contained in the [2023 10-K] fairly presents, in all

  material respects, the financial condition and results of operations of the Company.”

        29.    On May 2, 2024, Avis Budget filed a Quarterly Report on Form 10-Q

  with the SEC, reporting the Company’s financial and operating results for the quarter

  ended March 31, 2024 (the “Q1 2024 10-Q”). The Q1 2024 10-Q included a




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  substantively similar description of the Company’s strategy as discussed, supra, in

  ¶ 26.

          30.      Further, in listing “factors and assumptions [that] could affect [Avis

  Budget’s] future results,” the Q1 2024 included, among others:

                • a change in our fleet costs, including as a result of a change in
                  the cost of new vehicles, resulting from inflation or otherwise,
                  manufacturer recalls, disruption in the supply of new vehicles,
                  including due to labor actions or otherwise, shortages in
                  semiconductors used in new vehicle production, and/or a change
                  in the price at which we dispose of used vehicles either in the
                  used vehicle market or under repurchase or guaranteed
                  depreciation programs;

                                            ***

                • our ability to successfully implement or achieve our business
                  plans and strategies, achieve and maintain cost savings and adapt
                  our business to changes in mobility[.]

  Plainly, the foregoing warnings were generic, catch-all provisions that were not

  tailored to Defendants’ actual known risks regarding the likelihood of Avis Budget

  recognizing a significant impairment charge in the near future.

          31.      Appended to the Q1 2024 10-Q as an exhibit was a signed certification

  pursuant to SOX by the Individual Defendants, attesting that “[t]he information

  contained in the [Q1 2024 10-Q] fairly presents, in all material respects, the financial

  condition and results of operations of the Company.”

          32.      On August 6, 2024, Avis Budget filed a Quarterly Report on Form 10-

  Q with the SEC, reporting the Company’s financial and operating results for the

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  quarter ended June 30, 2024 (the “Q2 2024 10-Q”). The Q2 2024 10-Q included a

  substantively similar description of the Company’s strategy as discussed, supra, in

  ¶ 26, and substantively similar generic, catch-all warnings that were not tailored to

  Defendants’ actual known risks regarding the likelihood of Avis Budget recognizing

  a significant impairment charge in the near future as discussed, supra, in ¶ 30.

        33.    Appended to the Q2 2024 10-Q as an exhibit was a signed certification

  pursuant to SOX by the Individual Defendants, attesting that “[t]he information

  contained in the [Q2 2024 10-Q] fairly presents, in all material respects, the financial

  condition and results of operations of the Company.”

        34.    On October 31, 2024, Avis Budget issued a press release announcing

  the Company’s Q3 2024 results. The press release stated, in relevant part:

        “We maintained a strong focus on pricing throughout the quarter,
        prioritizing higher margin business which allowed us to keep our
        revenue per day stable with the Americas nearly flat,” said [Defendant]
        Ferraro[.] “Vehicle utilization improved by approximately 2 points
        throughout the Company as we exercised strong fleet discipline. Our
        U.S. model year 2025 buy is well underway and expected to drive
        significant savings as these vehicles are rotated into our fleet. Lastly,
        the holidays look strong, and we believe we are well positioned to
        capitalize on this demand.”

  Conspicuously, the foregoing positive statements regarding the rotation of model

  year 2025 vehicles into the Company’s fleet failed to acknowledge the likelihood of

  Avis Budget recognizing a significant impairment charge in the near future.




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        35.    On November 1, 2024, Avis Budget filed a Quarterly Report on Form

  10-Q with the SEC, reporting the Company’s financial and operating results for the

  quarter ended September 30, 2024 (the “Q3 2024 10-Q”). The Q3 2024 10-Q

  included a substantively similar description of the Company’s strategy as discussed,

  supra, in ¶ 26, and substantively similar generic, catch-all warnings that were not

  tailored to Defendants’ actual known risks regarding the likelihood of Avis Budget

  recognizing a significant impairment charge in the near future as discussed, supra,

  in ¶ 30.

        36.    Appended to the Q3 2024 10-Q as an exhibit was a signed certification

  pursuant to SOX by the Individual Defendants, attesting that “[t]he information

  contained in the [Q3 2024 10-Q] fairly presents, in all material respects, the financial

  condition and results of operations of the Company.”

        37.    That same day, Avis Budget hosted an earnings call with investors and

  analysts to discuss the Company’s Q3 2024 results (the “Q3 2024 Earnings Call”).

  During the scripted portion of the Q3 2024 Earnings Call, Defendant Ferraro stated,

  in relevant part:

        So to recap, we reported a strong third quarter with improved vehicle
        utilization through ongoing fleet discipline. Our model year 2025 buy
        is largely complete, and we expect to have substantially lower holding
        costs as these vehicles rotate on our fleet. We’ll continue to prioritize
        high-margin business while balancing volume.




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        38.    Also during the scripted portion of the call, Defendant Martins stated,

  in relevant part:

        Our model year 2025 fleet purchase is more affordable. Since we are
        largely complete with our negotiations, we can say holding costs should
        improve. We believe over time, our depreciation rate will return to
        historic levels as we rotate out of the older fleet, which we purchased
        during the supply-constrained pandemic years and in fleet the model
        year 2025, which represents a more normalized fleet buy.

  Conspicuously, the foregoing positive statements regarding the rotation of model

  year 2025 vehicles into the Company’s fleet failed to acknowledge the likelihood of

  Avis Budget recognizing a significant impairment charge in the near future.

        39.    The statements referenced in ¶¶ 26-38 were materially false and

  misleading because Defendants made false and/or misleading statements, as well as

  failed to disclose material adverse facts about the Company’s business, operations,

  and prospects. Specifically, Defendants made false and/or misleading statements

  and/or failed to disclose that: (i) Avis Budget crafted and implemented a plan to

  significantly accelerate its fleet rotation in the fourth quarter of 2024; (ii) the

  foregoing acceleration shortened the useful life of the majority of the Company’s

  vehicles in the Americas segment, thereby reducing their recoverable value; (iii) as

  a result, Avis Budget would be forced to recognize billions of dollars in impairment

  charges and incur substantial losses; (iv) all the foregoing was likely to, and did,

  have a significant negative impact on the Company’s financial results; (v)

  accordingly, Avis Budget’s financial and/or business prospects were overstated; and

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  (vi) as a result, Defendants’ public statements were materially false and misleading

  at all relevant times.

                                  The Truth Emerges

        40.    On February 11, 2025, Avis Budget issued a press release reporting its

  financial results for the fourth quarter and full year 2024. The press release stated,

  in relevant part:

        We ended 2024 with fourth quarter revenues of $2.7 billion, driven by
        strong leisure holiday travel. Net loss was nearly $2 billion, and
        Adjusted EBITDA[] was a loss of $101 million. Full year revenues
        were $11.8 billion, driven by sustained year-over-year demand. Net
        loss was $1.8 billion, and Adjusted EBITDA was $628 million.

        Our net loss and Adjusted EBITDA results reflect a change in
        strategy to significantly accelerate fleet rotations, which resulted in
        shortening the useful life of the majority of our vehicles in the
        Americas segment. The financial impact of this decision was a one-
        time non-cash impairment of $2.3 billion and other non-cash related
        charges of $180 million.

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        41.    In addition, the press release also announced that Defendant Ferraro

  “will transition from CEO to Board Advisor, effective June 30, 2025” and that

  “Brian Choi, the Company’s Chief Transformation Officer, will take over as CEO,

  effective July 1, 2025.”

        42.    On this news, Avis Budget’s stock price fell $6.12 per share, or 6.82%,

  to close at $83.59 per share on February 11, 2025.

        43.    Then, on February 12, 2025, Avis Budget hosted the Q4 2024 Earnings

  Call. During the Q&A portion of the Q4 2024 Earnings Call, Defendant Ferraro

  indicated that the Company was aware that accelerating fleet rotation would likely

  result in a significant impairment charge. Specifically, when asked to discuss the



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  competitive landscape of the automobile rental industry in the wake of the

  normalizing price levels of vehicles model year 2025, Defendant Ferraro responded,

  in relevant part, “I can only comment on what we’re trying to do as far as our fleet

  rotation. None of us took that impairment slightly, and we thought long and hard

  about it.”

        44.    As a result of Defendants’ wrongful acts and omissions, and the

  precipitous decline in the market value of the Company’s securities, Plaintiff and

  other Class members have suffered significant losses and damages.

                             SCIENTER ALLEGATIONS

        45.    During the Class Period, Defendants had both the motive and

  opportunity to commit fraud. They also had actual knowledge of the misleading

  nature of the statements they made, or acted in reckless disregard of the true

  information known to them at the time. In so doing, Defendants participated in a

  scheme to defraud and committed acts, practices, and participated in a course of

  business that operated as a fraud or deceit on purchasers of the Company’s securities

  during the Class Period.

                 PLAINTIFF’S CLASS ACTION ALLEGATIONS

        46.    Plaintiff brings this action as a class action pursuant to Federal Rule of

  Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who

  purchased or otherwise acquired Avis Budget securities during the Class Period (the


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  “Class”); and were damaged upon the revelation of the alleged corrective

  disclosures. Excluded from the Class are Defendants herein, the officers and

  directors of the Company, at all relevant times, members of their immediate families

  and their legal representatives, heirs, successors or assigns and any entity in which

  Defendants have or had a controlling interest.

        47.    The members of the Class are so numerous that joinder of all members

  is impracticable. Throughout the Class Period, Avis Budget securities were actively

  traded on the NASDAQ. While the exact number of Class members is unknown to

  Plaintiff at this time and can be ascertained only through appropriate discovery,

  Plaintiff believes that there are hundreds or thousands of members in the proposed

  Class. Record owners and other members of the Class may be identified from

  records maintained by Avis Budget or its transfer agent and may be notified of the

  pendency of this action by mail, using the form of notice similar to that customarily

  used in securities class actions.

        48.    Plaintiff’s claims are typical of the claims of the members of the Class

  as all members of the Class are similarly affected by Defendants’ wrongful conduct

  in violation of federal law that is complained of herein.

        49.    Plaintiff will fairly and adequately protect the interests of the members

  of the Class and has retained counsel competent and experienced in class and




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  securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

  of the Class.

         50.       Common questions of law and fact exist as to all members of the Class

  and predominate over any questions solely affecting individual members of the

  Class. Among the questions of law and fact common to the Class are:

               •    whether the federal securities laws were violated by Defendants’ acts
                    as alleged herein;

               •    whether statements made by Defendants to the investing public during
                    the Class Period misrepresented material facts about the business,
                    operations and management of Avis Budget;

               •    whether the Individual Defendants caused Avis Budget to issue false
                    and misleading financial statements during the Class Period;

               •    whether Defendants acted knowingly or recklessly in issuing false and
                    misleading financial statements;

               •    whether the prices of Avis Budget securities during the Class Period
                    were artificially inflated because of the Defendants’ conduct
                    complained of herein; and

               •    whether the members of the Class have sustained damages and, if so,
                    what is the proper measure of damages.

         51.       A class action is superior to all other available methods for the fair and

  efficient adjudication of this controversy since joinder of all members is

  impracticable. Furthermore, as the damages suffered by individual Class members

  may be relatively small, the expense and burden of individual litigation make it




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  impossible for members of the Class to individually redress the wrongs done to them.

  There will be no difficulty in the management of this action as a class action.

        52.       Plaintiff will rely, in part, upon the presumption of reliance established

  by the fraud-on-the-market doctrine in that:

              •    Defendants made public misrepresentations or failed to disclose
                   material facts during the Class Period;

              •    the omissions and misrepresentations were material;

              •    Avis Budget securities are traded in an efficient market;

              •    the Company’s shares were liquid and traded with moderate to heavy
                   volume during the Class Period;

              •    the Company traded on the NASDAQ and was covered by multiple
                   analysts;

              •    the misrepresentations and omissions alleged would tend to induce a
                   reasonable investor to misjudge the value of the Company’s
                   securities; and

              •    Plaintiff and members of the Class purchased, acquired and/or sold
                   Avis Budget securities between the time the Defendants failed to
                   disclose or misrepresented material facts and the time the true facts
                   were disclosed, without knowledge of the omitted or misrepresented
                   facts.
        53.       Based upon the foregoing, Plaintiff and the members of the Class are

  entitled to a presumption of reliance upon the integrity of the market.

        54.       Alternatively, Plaintiff and the members of the Class are entitled to the

  presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

  of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as



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  Defendants omitted material information in their Class Period statements in violation

  of a duty to disclose such information, as detailed above.

                                        COUNT I

  (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                       Thereunder Against All Defendants)

        55.    Plaintiff repeats and re-alleges each and every allegation contained

  above as if fully set forth herein.

        56.    This Count is asserted against Defendants and is based upon Section

  10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

  thereunder by the SEC.

        57.    During the Class Period, Defendants engaged in a plan, scheme,

  conspiracy and course of conduct, pursuant to which they knowingly or recklessly

  engaged in acts, transactions, practices and courses of business which operated as a

  fraud and deceit upon Plaintiff and the other members of the Class; made various

  untrue statements of material facts and omitted to state material facts necessary in

  order to make the statements made, in light of the circumstances under which they

  were made, not misleading; and employed devices, schemes and artifices to defraud

  in connection with the purchase and sale of securities. Such scheme was intended

  to, and, throughout the Class Period, did: (i) deceive the investing public, including

  Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and

  maintain the market price of Avis Budget securities; and (iii) cause Plaintiff and

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  other members of the Class to purchase or otherwise acquire Avis Budget securities

  and options at artificially inflated prices. In furtherance of this unlawful scheme,

  plan and course of conduct, Defendants, and each of them, took the actions set forth

  herein.

        58.    Pursuant to the above plan, scheme, conspiracy and course of conduct,

  each of the Defendants participated directly or indirectly in the preparation and/or

  issuance of the quarterly and annual reports, SEC filings, press releases and other

  statements and documents described above, including statements made to securities

  analysts and the media that were designed to influence the market for Avis Budget

  securities. Such reports, filings, releases and statements were materially false and

  misleading in that they failed to disclose material adverse information and

  misrepresented the truth about Avis Budget’s finances and business prospects.

        59.      By virtue of their positions at Avis Budget, Defendants had actual

  knowledge of the materially false and misleading statements and material omissions

  alleged herein and intended thereby to deceive Plaintiff and the other members of

  the Class, or, in the alternative, Defendants acted with reckless disregard for the truth

  in that they failed or refused to ascertain and disclose such facts as would reveal the

  materially false and misleading nature of the statements made, although such facts

  were readily available to Defendants. Said acts and omissions of Defendants were

  committed willfully or with reckless disregard for the truth. In addition, each


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  Defendant knew or recklessly disregarded that material facts were being

  misrepresented or omitted as described above.

        60.    Information showing that Defendants acted knowingly or with reckless

  disregard for the truth is peculiarly within Defendants’ knowledge and control. As

  the senior managers and/or directors of Avis Budget, the Individual Defendants had

  knowledge of the details of Avis Budget’s internal affairs.

        61.    The Individual Defendants are liable both directly and indirectly for the

  wrongs complained of herein. Because of their positions of control and authority,

  the Individual Defendants were able to and did, directly or indirectly, control the

  content of the statements of Avis Budget. As officers and/or directors of a publicly-

  held company, the Individual Defendants had a duty to disseminate timely, accurate,

  and truthful information with respect to Avis Budget’s businesses, operations, future

  financial condition and future prospects. As a result of the dissemination of the

  aforementioned false and misleading reports, releases and public statements, the

  market price of Avis Budget securities was artificially inflated throughout the Class

  Period. In ignorance of the adverse facts concerning Avis Budget’s business and

  financial condition which were concealed by Defendants, Plaintiff and the other

  members of the Class purchased or otherwise acquired Avis Budget securities at

  artificially inflated prices and relied upon the price of the securities, the integrity of




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  the market for the securities and/or upon statements disseminated by Defendants,

  and were damaged thereby.

        62.    During the Class Period, Avis Budget securities were traded on an

  active and efficient market. Plaintiff and the other members of the Class, relying on

  the materially false and misleading statements described herein, which the

  Defendants made, issued or caused to be disseminated, or relying upon the integrity

  of the market, purchased or otherwise acquired shares of Avis Budget securities at

  prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

  other members of the Class known the truth, they would not have purchased or

  otherwise acquired said securities, or would not have purchased or otherwise

  acquired them at the inflated prices that were paid. At the time of the purchases

  and/or acquisitions by Plaintiff and the Class, the true value of Avis Budget

  securities was substantially lower than the prices paid by Plaintiff and the other

  members of the Class. The market price of Avis Budget securities declined sharply

  upon public disclosure of the facts alleged herein to the injury of Plaintiff and Class

  members.

        63.    By reason of the conduct alleged herein, Defendants knowingly or

  recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act

  and Rule 10b-5 promulgated thereunder.




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        64.    As a direct and proximate result of Defendants’ wrongful conduct,

  Plaintiff and the other members of the Class suffered damages in connection with

  their respective purchases, acquisitions and sales of the Company’s securities during

  the Class Period, upon the disclosure that the Company had been disseminating

  misrepresented financial statements to the investing public.

                                        COUNT II

      (Violations of Section 20(a) of the Exchange Act Against the Individual
                                     Defendants)

        65.    Plaintiff repeats and re-alleges each and every allegation contained in

  the foregoing paragraphs as if fully set forth herein.

        66.    During the Class Period, the Individual Defendants participated in the

  operation and management of Avis Budget, and conducted and participated, directly

  and indirectly, in the conduct of Avis Budget’s business affairs. Because of their

  senior positions, they knew the adverse non-public information about Avis Budget’s

  misstatement of income and expenses and false financial statements.

        67.    As officers and/or directors of a publicly owned company, the

  Individual Defendants had a duty to disseminate accurate and truthful information

  with respect to Avis Budget’s financial condition and results of operations, and to

  correct promptly any public statements issued by Avis Budget which had become

  materially false or misleading.




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        68.    Because of their positions of control and authority as senior officers,

  the Individual Defendants were able to, and did, control the contents of the various

  reports, press releases and public filings which Avis Budget disseminated in the

  marketplace during the Class Period concerning Avis Budget’s results of operations.

  Throughout the Class Period, the Individual Defendants exercised their power and

  authority to cause Avis Budget to engage in the wrongful acts complained of herein.

  The Individual Defendants, therefore, were “controlling persons” of Avis Budget

  within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

  participated in the unlawful conduct alleged which artificially inflated the market

  price of Avis Budget securities.

        69.    Each of the Individual Defendants, therefore, acted as a controlling

  person of Avis Budget. By reason of their senior management positions and/or being

  directors of Avis Budget, each of the Individual Defendants had the power to direct

  the actions of, and exercised the same to cause, Avis Budget to engage in the

  unlawful acts and conduct complained of herein. Each of the Individual Defendants

  exercised control over the general operations of Avis Budget and possessed the

  power to control the specific activities which comprise the primary violations about

  which Plaintiff and the other members of the Class complain.




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        70.    By reason of the above conduct, the Individual Defendants are liable

  pursuant to Section 20(a) of the Exchange Act for the violations committed by Avis

  Budget.

                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants as follows:

        A.     Determining that the instant action may be maintained as a class action

  under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

  Class representative;

        B.     Requiring Defendants to pay damages sustained by Plaintiff and the

  Class by reason of the acts and transactions alleged herein;

        C.     Awarding Plaintiff and the other members of the Class prejudgment and

  post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and

  other costs; and

        D.     Awarding such other and further relief as this Court may deem just and

  proper.

                          DEMAND FOR TRIAL BY JURY

        Plaintiff hereby demands a trial by jury.

  Dated: April 25, 2025                  Respectfully submitted,

                                         POMERANTZ LLP

                                         /s/ Thomas H. Przybylowski
                                         Thomas H. Przybylowski

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